                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                              No. CR13-3001-MWB
 vs.                                             ORDER CONCERNING
                                             MAGISTRATE’S REPORT AND
 WAYLON PATRICK,                           RECOMMENDATION REGARDING
                                             DEFENDANT’S RULE 11(c)(1)(C)
               Defendant.                            GUILTY PLEA
                                ____________________

                      I. INTRODUCTION AND BACKGROUND
       On May 23, 2013, defendant Waylon Patrick was charged in a Second Superseding
Indictment with conspiring to distribute 500 grams or more methamphetamine which
contained 50 grams or more of pure methamphetamine, in violation of 21 U.S.C.
§§ 841(a)(1), 841(b)(1)(A), and 846, possessing with intent to distribute 8.9973 grams of
pure methamphetamine, within 1,000 feet of a school or playground, in violation of 21
U.S.C. §§ 841(a)(1), 841(b)(1)(B), and 860(a), and distributing methamphetamine in
violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C). On February 24, 2014, defendant
appeared before United States Magistrate Judge Leonard T. Strand and entered a plea of
guilty to Counts 1 and 11 of the Second Superseding Indictment, under a binding plea
agreement, pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C). In the plea
agreement, the parties have stipulated to a sentence of 156 months imprisonment. This
sentence may be concurrent, consecutive, or partially concurrent and partially consecutive
to any undischarged term of imprisonment in State v. Waylon Patrick, case number
FECR344406 in Iowa District Court for Webster County.




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On the same day, Judge Strand filed a Report and Recommendation in which he
recommends that defendant’s guilty plea be accepted. No objections to Judge Strand’s
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Report and Recommendation were filed. The court, therefore, undertakes the necessary
review of Judge Strand’s recommendation to accept defendant’s plea in this case.


                                    II. ANALYSIS
      The court reviews the magistrate judge’s report and recommendation pursuant to
the statutory standards found in 28 U.S.C. § 636(b)(1):
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate judge.
             The judge may also receive further evidence or recommit the
             matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 72, 72.1 (allowing the referral of dispositive matters to a magistrate judge
but not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:
             Any party that desires plenary consideration by the Article III
             judge of any issue need only ask. Moreover, while the statute
             does not require the judge to review an issue de novo if no
             objections are filed, it does not preclude further review by the
             district judge, sua sponte or at the request of a party, under a
             de novo or any other standard.


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       The parties have waived the fourteen day period in which to file objections to
Judge Strand’s Report and Recommendation.

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Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                  28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       In this case, no objections have been filed. As a result, the court has reviewed the
magistrate judge’s report and recommendation under a clearly erroneous standard of
review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting when no
objections are filed and the time for filing objections has expired, “[the district court judge]
would only have to review the findings of the magistrate judge for clear error”); Taylor
v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the advisory committee’s note to
Fed. R. Civ. P. 72(b) indicates “when no timely objection is filed the court need only
satisfy itself that there is no clear error on the face of the record”). Therefore, the court
accepts Judge Strand’s Report and Recommendation, and accepts defendant’s plea of guilty
in this case to Counts 1 and 11 of the Second Superseding Indictment. However, the court
will not decide at this time whether it will accept the parties’ Rule 11(c)(1)(C) plea
agreement and the agreed upon sentence in that plea agreement. Instead, the court will
make that determination at the end of the sentencing hearing in this case. In the event the
court decides not to accept the terms of the parties’ plea agreement, defendant will be
given the opportunity to withdraw his plea of guilty, or not withdraw his guilty plea and
proceed with the sentencing. See FED. R. CRIM. P. 11(c)(5).


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  IT IS SO ORDERED.
  DATED this 24th day of February, 2014.


                                       __________________________________
                                       MARK W. BENNETT
                                       U. S. DISTRICT COURT JUDGE
                                       NORTHERN DISTRICT OF IOWA




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